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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                         )
                                      )
              Plaintiff,              )
                                      )
     v.                               )     Case No. 1:21-cv-3271-CJN
                                      )
NANCY PELOSI, et al.                  )
                                      )
                                      )




                                 Exhibit B
     Case 1:21-cv-03217-CJN Document 15-3 Filed 04/22/22 Page 2 of 3
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1              RPTR ZAMORA

2       EDTR HOFSTAD

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5       BUSINESS MEETING ON A REPORT RECOMMENDING THAT THE HOUSE

6       OF REPRESENTATIVES CITE MARK RANDALL MEADOWS FOR CRIMINAL CONTEMPT OF

7       CONGRESS

8       Monday, December 13, 2021

9       House of Representatives,

10      Select Committee to Investigate the January 6th Attack

11      on the United States Capitol,

12      Washington, D.C.

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17             The committee met, pursuant to call, at 7:00 p.m., in Room 390, Cannon House

18      Office Building, Hon. Bennie G. Thompson [chairman of the committee] presiding.

19             Present:    Representatives Thompson, Lofgren, Luria, Schiff, Aguilar, Murphy,

20      Raskin, Cheney, and Kinzinger.
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2              Ms. Cheney.     Thank you very much, Mr. Chairman.

3              We are here to address a very serious matter:     contempt of Congress by a former

4       chief of staff to a former President of the United States. We do not do this lightly, and,

5       indeed, we had hoped not to take this step at all.

6              For weeks, as the chairman noted, we worked with Mr. Meadows' counsel to

7       reach an agreement on cooperation. But, shortly before his scheduled deposition,

8       Mr. Meadows walked away from his commitment to appear and informed us he would no

9       longer cooperate.

10             We believe Mr. Meadows is improperly asserting executive and other privileges,

11      but this vote on contempt today relates principally to Mr. Meadows' refusal to testify

12      about text messages and other communications that he admits are not privileged. He

13      has not claimed and does not have any privilege basis to refuse entirely to testify

14      regarding these topics.

15             Let me give just three examples.

16             First, President Trump's failure to stop the violence. On January 6th, our Capitol

17      Building was attacked and invaded. The mob was summoned to Washington by

18      President Trump, and, as many of those involved have admitted on videotape, in social

19      media, and in Federal district court, they were provoked to violence by President Trump's

20      false claims that the election was stolen.

21             The violence was evident to all. It was covered in real-time by almost every news

22      channel. But, for 187 minutes, President Trump refused to act, when action by our

23      President was required, essential, and, indeed, compelled by his oath to our Constitution.

24             Mr. Meadows received numerous text messages, which he has produced without

25      any privilege claim, imploring that Mr. Trump take the specific action we all knew his duty
